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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:04CR3039-2
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
HEIDI K. SCHMIDT,                            )
                                              )
                     Defendant.               )

       IT IS ORDERED that:

      (1)    The government’s request for hearing pursuant to Federal Rule of Criminal
Procedure 35(b) (filing 134) is granted.

       (2)    A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 124) has been set before the undersigned United States district judge at
1:00 p.m., Tuesday, April 11, 2006, in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (3)   The United States Marshal is directed to return the defendant to the district for
the hearing.

       February 22, 2006.                  BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge
